
PER CURIAM.
General Electric Real Estate Credit Corp. and General Electric Credit Corp. of Georgia petition this court for a writ of certiora-ri and for quashal of a March 19, 1992, order of the Seventeenth Judicial Circuit Court. The order disqualifies petitioners’ counsel from continuing representation of petitioners in their lower court action. We grant certiorari, quash the order, and remand for a full evidentiary hearing.
Respondent alleged below in a motion to disqualify counsel that attorney Guy B. Bailey, Jr., a member of petitioners’ law firm, Bailey Hunt Jones &amp; Busto, is a necessary witness in the action below. As a result, the firm should be disqualified from further representation of petitioners. Respondent also filed an amended motion to the same effect, supported by an affidavit of Sanford A. Weisberg. Mr. Weisberg attested therein that he was under the impression, during meetings with Mr. Bailey and a former firm member, Robbie Barr, that these two individuals were his attorneys. In short, respondent alleged below that he thought that an attorney-client relationship existed between respondent and petitioners’ counsel. We agree with petitioners that the motions, responses thereto and affidavits present conflicting facts. In our view, Mr. Weisberg’s subjective “thoughts” that Mr. Bailey and Ms. Barr were representing him, in the absence of facts clearly showing that his belief was a reasonable one, should be subjected to a full evidentiary hearing. Accordingly, we grant certiorari, quash the trial court’s order disqualifying petitioners’ counsel from continuing to represent petitioners in this action, and remand for a full evidentiary hearing.
WARNER, POLEN, JJ., and OWEN, WILLIAM C., JR., Senior Judge, concur.
